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00 Case 1:03-cr-10012-.]DT Document 49 Filed 06/15/05 Page 1 of 3 Page|D 46

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

 

EASTERN DIvIsloN
UNITED sTATEs oF AMERiCA, )
)
Plaintiff, )
)
v. ) NO. 03<110012F
DARRYL sUsEWITT, ) ": §§
Defendant. ) _ , m `
:L_'. _ '*:J _ § l
evsz ~"‘ . --
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UNITED srArEs’ MorloN To CoNTiNUE sETTING At&t,zr " ij

 

  
    
   

COMES NOW, the United States of America, by and throu Ten‘ell L. Harris, United States

Attorney, and James W. Powell, Assistant United States ttomey for the Western District of
Tennessee, and moves this Honorable Court as tollny

The defendant, DARRYL SUSEWIT(',“l`/,/i;'scheduled for are-sentencing date on Wednesday,
lilly 20, 2005. Counsel for the gov¢;j ent has been advised that oral argument before the Sixth

Circuit Court of Appeals will be eld that same day. Due to this scheduling conflict the government

 
  
  
 

is now requesting a resett' g of this case.

Movant has `scussed the filing of this motion With Ms. Diane Smothers, counsel for the
defendant, who s expressed no objection thereto. Counsel for the government will be unavailable
from July l9t through July 22nd, as well as July 27th through July 28th Ms. Srnothers has advised
that she wi be unavailable on July 15th

T EREFORE, for the grounds set forth above, the government respectfully requests that the

defendants’ scheduled Re-sentencing Hearing date be reset to a later dateDA?E-r| 0 N ;G RANTE D
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with Hule 55 and,'or Bz{b) FRCrP on ga l 15 ig U James D mde
.S. D¢strcct Judge \`X(R

 

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Respectfully submitted,

TERRELL L. HARRIS
United States Attorney

M

/Evlas W POWELL\/

;/ JAssistant United States Attorney
` 109 South Highland Avenue, Suite 300

Jacl<son, Tennessee 38301
(731) 422»6?.20
Tennessee Bar No. 9614

CERT[FICATE OF SERVICE
I, J ames W. Powe]l, Assistant United States Attorn ey for the Westem District of 'I`elmessee,
hereby certify that a copy of the foregoing has been delivered to Ms. Diane Smothers, Counsel for

the defendant, 109 South Highland Avenue, Jackson, Tennessee, this 15th day of June 2005.

aaa

James W. Powell
Assistant United States Attorney

 

DISTRIC COURT - WESERNT D"'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case l:03-CR-10012 Was distributed by faX, mail, or direct printing on
.lune 15, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jacl<son7 TN 38301

.l ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable .l ames Todd
US DISTRICT COURT

